          Case 6:20-cv-01763-CEM-EJK Document 20 Filed 10/02/20 Page 1 of 1 PageID 175




                                                              EXHIBIT LIST
                                       ___ PLAINTIFF              X DEFENDANT                      JOINT

                                                         ___ GOVERNMENT___ COURT

                            CASE NO.    20-CV-1763-CEM-EJK
                            STYLE: ALEJANDRO ESTRADA V. ST. MATTHEWS UNIVERSITY SCHOOL OF MEDICINE


EXHIBIT      DATE               DATE            SPONSORING              OBJECTIONS /                DESCRIPTION OF EXHIBIT
NO.          IDENTIFIED         ADMITTED        WITNESSES               STIPULATED
                                                                        ADMISSIONS 1
   1          10/02/2020        10/02/2020                                                       EMAIL TO MR. ESTRADA FROM
                                                                                                 DR. REID




                  1
                      Use a code (e.g. “A”or “*”) in this column to identify exhibits to be received in evidence by
          agreement without objection. Otherwise, specifically state each objection to each opposed exhibit. Please
          note that each date box on the left must be one inch wide to accommodate the Clerk’s date stamp.
